Case 1:21-cv-04913-PGG Document 1-22 Filed 06/03/21 Page 1 of 5




              Exhibit 22
     Case 1:21-cv-04913-PGG Document 1-22 Filed 06/03/21 Page 2 of 5



                                           90 Park Avenue
                                         New York, NY 10016

                                            212-210-9400
                                          Fax: 212-210-9444
                                           www.alston.com

Gerard Keegan                          Direct Dial: 212-210-9558      Email: Gerard.Keegan@alston.com




                                        January 25, 2021

VIA UPS OVERNIGHT DELIVERY
767 8th Avenue LLC
Sherman Management LLC
302 West 47th Street
New York, New York 10036
Attention: Joginder Y. Sharma


         Re:     That certain loan in the original principal sum of $11,500,000.00 (the
                 “Loan”) made by MORGAN STANLEY MORTGAGE CAPITAL
                 HOLDINGS LLC, a New York limited liability company (“Original
                 Lender”), to 767 8th AVENUE LLC and SHERMAN
                 MANAGEMENT LLC, each a Delaware limited liability company
                 (individually and/or collectively, as the context may require,
                 “Borrower”) which Loan is currently held by U.S. BANK
                 NATIONAL ASSOCIATION, AS TRUSTEE FOR THE
                 REGISTERED HOLDERS OF MORGAN STANLEY CAPITAL I
                 INC.,     COMMERCIAL            MORTGAGE           PASS-THROUGH
                 CERTIFICATES, SERIES 2012-C5, as successor-in-interest to
                 Original Lender (“Lender”) and is being specially serviced by
                 RIALTO CAPITAL ADVISORS, LLC (“Rialto”)

Dear Borrower:

        This correspondence is being sent to you on behalf of the Lender. Reference is hereby
made to that certain Consolidated, Amended and Restated Promissory Note, dated as of May 9,
2012, in the stated principal amount of $11,500,000.00, made by Borrower in favor of Original
Lender (the “Note”) and to that certain Consolidated, Amended and Restated Fee and Leasehold
Mortgage and Security Agreement, dated as of even date with the Note, made by Borrower in
favor of Original Lender (the “Security Instrument”). Capitalized terms used but not defined
herein shall have the meanings ascribed to them in the Security Instrument.

        Reference also is made to that certain Guaranty of Recourse Obligations of Borrower,
dated as of even date with the Note, made by Joginder Y. Sharma, an individual (“Guarantor”) in
favor of Lender. Guarantor is copied on this notice letter and is hereby given notice of its
contents.




LEGAL02/40144100v4
     Case 1:21-cv-04913-PGG Document 1-22 Filed 06/03/21 Page 3 of 5



        The Loan is currently in default due to the occurrence of several Events of Default under
the Loan Documents, including, without limitation, as a result of Borrower failing to make the
April, 2020 payment due under the Loan Documents. Such failures are Events of Default
under the Loan entitling Lender to exercise all of its rights and remedies under the Loan
Documents and at law, in equity or otherwise. Lender is hereby accelerating the Loan pursuant
to Section 11.1(a) of the Security Instrument, and demand is hereby made for payment of the
Debt in full. Please be advised that until the date all Events of Default are fully cured, interest
shall continue to accrue on the entire outstanding balance of the Loan at the Default Rate (as
defined in the Note). A complete accounting of all accrued but unpaid sums under the Loan
(including, but not limited to, default interest, costs and expenses (including legal fees and costs)
and late charges) is available upon request.

        Lender expressly reserves its right to exercise any and all rights and remedies available
under any of the Loan Documents, at law or in equity, without further notice to Borrower or
Guarantor (including, without limitation, the right (in Lender’s sole discretion) to revoke and/or
reverse the acceleration of the Loan as set forth in this notice letter). No action by Lender,
including but not limited to the giving and contents of this notice letter, or any delay or failure by
Lender to exercise at this time (or at any time hereafter) any of its rights and remedies shall
constitute a waiver of any term, provision, condition, covenant or agreement contained in any of
the Loan Documents, nor shall same prejudice any of Lender’s rights under the Loan Documents,
at law or equity. Additional defaults and/or Events of Default may exist and Lender specifically
reserves its rights with respect thereto and all of its rights and remedies under the Loan
Documents, at law or in equity. Additionally, Borrower is obligated to pay for all fees and
expenses incurred by Lender in connection with this matter, including, without limitation,
attorneys’ fees and expenses.

        No discussions among Borrower, Guarantor and/or Lender (or each of their respective
counsel) regarding the Loan are binding on any party unless reduced to a writing signed by all
parties. No partial payment which may be, or has been, made or received with respect to the
Loan shall constitute an agreement by Lender to waive demand for full payment of the amounts
for which Borrower or any other party is obligated under the Note and the other Loan Documents.
Furthermore, the enumeration of any specific default in this notice letter is not intended, and shall
not be deemed, to waive any other defaults or Events of Default that may currently exist under the
Loan Documents.

         All rights and remedies available to Lender are cumulative and may be exercised
separately, successively or concurrently in Lender’s sole and absolute discretion. Lender reserves
all rights and remedies available under the Loan Documents and at law, in equity or otherwise
and notwithstanding any other provision of this notice letter, Lender reserves the right
immediately to initiate enforcement action to collect all sums due under the Loan Documents
and/or collect, protect and/or preserve the collateral securing the Loan. Please be guided
accordingly.

         Lender hereby reminds Borrower that any and all discussions between Borrower and
Lender (or each of their respective agents, representatives and/or attorneys) shall in each event be
subject to the terms and conditions set forth in that certain letter agreement, dated as of June 25
2020, by and among Borrower, Guarantor and Rialto (the “PNL”); provided, however, this notice
letter shall not constitute Negotiations (as defined in the PNL), and accordingly, the provisions of
the PNL relating to Negotiations shall be deemed inapplicable to this notice letter.




LEGAL02/40144100v46
     Case 1:21-cv-04913-PGG Document 1-22 Filed 06/03/21 Page 4 of 5




        This matter requires your immediate attention. Please contact Nick Powell at
nicholas.powell@rialtocapital.com if you have any questions.



                        [NO FURTHER TEXT ON THIS PAGE]




LEGAL02/40144100v46
Case 1:21-cv-04913-PGG Document 1-22 Filed 06/03/21 Page 5 of 5
